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                                                                                     09/26/2016


                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION

IN RE:                                          §
                                                §
TEXAS ENTERPRISES, L.L.C.                       §               Case No. 15-20032
d/b/a Bluebonnet Elite Assisted Living          §
xx--xxx2219                                     §
102 Floyd St., Naples, TX 75568                 §
                                                §
                        Debtor                  §               Chapter 11

               ORDER DISMISSING MOTION TO REOPEN
      CHAPTER 11 CASE FOR PURPOSE OF CRIMINAL INVESTIGATION

        ON THIS DATE the Court has considered the Motion to Reopen Case for Purpose

of Criminal Investigation (the “Motion”) filed by Derek Chabrowski (the “Movant”) on

September 23, 2016, in the above-referenced case. Though the Motion contains a number

of procedural deficiencies, including a failure to tender the required reopening fee, the

Motion suffers from more serious deficiencies. In addition to failing to establish the

standing of the Movant to bring the motion, this Court does not possess any criminal

jurisdiction whatsoever.1 Accordingly,

        IT IS THEREFORE ORDERED that the Motion to Reopen Case for Purpose of

Criminal Investigation filed by Derek Chabrowski on September 23, 2016 is




        1
          Any information regarding possible criminal violations should be thus be forwarded to the
United States Trustee, the Federal Bureau of Investigation, or other law enforcement investigative
agencies.
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DISMISSED for want of jurisdiction.

                                      Signed on 09/26/2016




                                      THE HONORABLE BILL PARKER
                                      UNITED STATES BANKRUPTCY JUDGE




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